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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION



FREDDIE ERVIN, JR.,                    CASE NO. 4:17-cv-14171-LVP-APP
    Plaintiff,

      vs.                              Judge Linda V. Parker
                                       Magistrate Judge Anthony P. Patti
EXPERIAN INFORMATION
SOLUTIONS, INC., et al
     Defendants.
__________________________________________________________________

           NOTICE OF VOLUNTARY DISMISSAL AS TO
    DEFENDANT ENHANCED RECOVERY COMPANY, LLC, ONLY
    WITH PREJUDICE AND WITHOUT COSTS TO EITHER PARTY

      The Plaintiff hereby dismisses the within action against Defendant Enhanced

Recovery Company, LLC, ONLY, with prejudice and without costs to either party.

                                             Respectfully Submitted,

                                             /s/ Carl Schwartz
                                             Carl Schwartz (P70335)
                                             Credit Repair Lawyers of America
                                             22142 W. Nine Mile Road
                                             Southfield, MI 48033
                                             (248) 353-2882
Dated: April 10, 2018                        carl@crlam.com

                             PROOF OF SERVICE

      I, Carl Schwartz, hereby state that on April 10, 2018, I served a copy of the
within pleading upon all counsel of record via the ECF System.

                                       /s/ Carl Schwartz
